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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ALLIANCE FOR RETIRED
AMERICANS, et al.,

                     Plaintiffs,
                                                     Case No. 1:25-cv-00313-CKK
              v.

SCOTT BESSENT, in his official capacity
as Secretary of the Treasury, et al.,

                     Defendants.


                                   [PROPOSED] ORDER

       With the consent of the parties, the Court DEFERS RULING on the Plaintiffs’ [8] Motion

for a Temporary Restraining Order and ORDERS as follows:

   •   The Defendants will not provide access to any payment record or payment system of

       records maintained by or within the Bureau of the Fiscal Service, except that the

       Defendants may provide access to any of the following people:

          o Mr. Tom Krause, a Special Government Employee in the Department of the

              Treasury, as needed for the performance of his duties, provided that such access to

              payment records will be “read only”;

          o Mr. Marko Elez, a Special Government Employee in the Department of the

              Treasury, as needed for the performance of his duties, provided that such access to

              payment records will be “read only”;

          o Any person who is an employee (but not a Special Government Employee) of the

              Department of the Treasury and who has a need for the record or system of records

              in the performance of their duties;
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            o Any person who is entitled to access the record or system of records under 5 U.S.C.

                § 552a(b)(2)–(13); and

            o Any person who is entitled to access the relevant record or system of records under

                the Internal Revenue Code.

         In agreeing to the entry of this Order, the parties expressly reserve all legal and factual

arguments relevant to the Plaintiffs’ claims.

         This Order shall remain in effect until such time as the Court rules on the Plaintiffs’

forthcoming Preliminary Injunction Motion.

         SO ORDERED.



Dated:
                                                Hon. Colleen Kollar-Kotelly
                                                U.S. District Judge
